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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 21-CIV-60825-RAR

  UNITED STATES,

          Plaintiff,

  v.

  ROGER J. STONE, et al.,

        Defendants.
  ___________________________/

                       ORDER REQUIRING COMBINED RESPONSES

          THIS CAUSE comes before the Court sua sponte. The record indicates that Defendants

  Roger J. Stone, Nydia B. Stone, Bertran Family Revocable Trust, and Drake Ventures LLC have

  waived service. See Waivers of Service [ECF Nos. 10-14]. Additionally, Defendant Broward

  County filed an Answer on May 3, 2021 [ECF No. 5]. However, no proof of service for Defendants

  Russell Harris, Galleria Lofts Condominium Association, Inc., and Galleria Lofts LLC

  (collectively, “Remaining Defendants”) has been filed. To better manage the orderly progress of

  this case, it is

          ORDERED AND ADJUDGED that Defendants shall not file a response until the

  Remaining Defendants have been served with process. After all Defendants have been served,

  Defendants shall submit a single combined response or separate answers within the time

  allowed for the last-served Defendant to respond. Thus, Plaintiff shall promptly file a return of

  service after serving the Remaining Defendants.

          DONE AND ORDERED in Fort Lauderdale, Florida, this 21st day of May, 2021.



                                                      _________________________________
                                                      RODOLFO A. RUIZ II
                                                      UNITED STATES DISTRICT JUDGE
